 Case 1:14-cv-00217-TBD Document 83 Filed 04/09/15 Page 1 of 2 PageID #: 870




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ART+COM Innovationpool GmbH.,                      )
                                                   )
               Plaintiff,                          )          C.A. No. 14-cv-217-RGA
                                                   )
vs.                                                )          DEMAND FOR JURY TRIAL
                                                   )
GOOGLE INC.,                                       )
                                                   )
               Defendant.                          )



  DECLARATION OF LISA M. THOMAS IN SUPPORT OF ACI’S OPPOSITION TO
         GOOGLE’S MOTION TO STAY PROCEEDINGS PENDING
          INTER PARTES REVIEW OF U.S. PATENT NO. RE44,550

I, Lisa M. Thomas, declare as follows:

       1.      I am an attorney with the law firm of Baker Botts L.L.P., counsel of record to

Plaintiff ART+COM Innovationpool GmbH in the above-captioned matter.

       2.      I submit this declaration in support of ACI’s Opposition to Google’s Motion to

Stay Proceedings Pending Inter Partes Review of U.S. Patent No. RE44,550.

       3.      I have prepared this Declaration based on my personal knowledge and

information I have reviewed. I have supervised the collection and copying of the documents

submitted herewith.

       4.      Attached hereto as Exhibit 1 is a true and correct copy of Defendant’s Initial

Invalidity Contentions, excluding the exhibits referenced therein.

       5.      Attached hereto as Exhibit 2 is a true and correct copy of the first page of Exhibit

D to Defendant’s Initial Invalidity Contentions.

       6.      Attached hereto as Exhibit 3 is a true and correct copy of the Information

Disclosure Statement considered by the Examiner in the application for RE44,550.



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       7.      Attach
                    hed hereto as Exhibit 4 is a truee and correect copy of the Inform
                                                                                     mation

Disclosurre Statementt considered
                                d by the Exam
                                            miner in the application for RE41,4228.

       8.      Attach
                    hed hereto as Exhibit 5 is a truue and corrrect copy oof a letter from

Defendan
       nt’s counsel,, Mr. David C. Vondle to
                                           o Ms. Nataliie Alfaro, daated March 119, 2015.

       9.      Attach
                    hed hereto as Exhibit 6 is a true and correctt copy of exxcerpts from
                                                                                        m the

transcriptt of the heaaring on the motion to stay
                                             s    in Callw
                                                         wave Comm
                                                                 munication vv. AT&T Moobility

LLC, CA
      A No. 12-170
                 01–RGA, helld on Septem
                                       mber 16, 20114.

       10.     Attach
                    hed hereto as Exhibit 7 is a true and correctt copy of exxcerpts from
                                                                                        m the

transcriptt of the Orall Argument Hearing
                                  H       on Motions
                                             M       to D
                                                        Dismiss andd Stay in Cloouding IP, LL
                                                                                            LC v.

Oracle Corporation,
       C            CA No. 12--642 LPS, heeld on Januaary 25, 2013.

       I declare undeer penalty off perjury thaat the foregoiing is true annd correct.



Dated: April
       A     9, 2015

                                                Respectfullyy submitted,,




                                                Lisa M. Thoomas




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